4:02-cr-03049-LES-RGK   Doc # 139   Filed: 02/27/09    Page 1 of 2 - Page ID # 406


               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  4:02CR3049
                              )
          v.                  )
                              )
DAVID W. LOTT,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motions

to reduce sentence (Filing Nos. 133 and 136), and the stipulation

of the parties (Filing No. 138).        Pursuant to the retroactive

amendment to the cocaine base guidelines, the defendant’s final

offense level is reduced from 34 to 32.          His criminal history

category remains at V.     The government and defense agree that his

sentence should be reduced to one hundred forty (140) months

imprisonment, considering the prior computation of specific

offense characteristics, adjustments, and departures.

Accordingly,

           IT IS ORDERED:

           1) Said motions to reduce sentence are granted and the

stipulation of the parties is approved and adopted; the sentence

of the defendant is reduced to one hundred forty (140) months.
4:02-cr-03049-LES-RGK   Doc # 139   Filed: 02/27/09   Page 2 of 2 - Page ID # 407


           2) In all other respects, the judgment and committal

order filed July 31, 2006 (Filing No. 124) shall remain in full

force and effect.

           DATED this 27th day of February, 2009.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
